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Attorneys for Defendant AB Hollywood, LLC




                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                      PORTLAND DIVISION

CONNER SLEVIN, an individual,                             Case No. 3:23-cv-01404-YY

                Plaintiff,                                DEFENDANT’S FIRST REQUESTS
                                                          FOR ADMISSION TO PLAINTIFF
        vs.

AB HOLLYWOOD, LLC, a limited liability
company,

                Defendant.


        Pursuant to FRCP 36, defendant AB Hollywood, LLC (hereinafter, “defendant” or “AB

Hollywood”) hereby requests that plaintiff Conner Slevin (“plaintiff”) answer the following

admissions, under oath, and serve within 30 days on defendant’s counsel.

                             DEFINITIONS AND INSTRUCTIONS

        1.      The terms “you,” “your,” and “plaintiff” refer to plaintiff Conner Slevin, his

attorneys, agents, representatives, family members, relatives, or any other person or entity

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                                                                                                 EXHIBIT C
                                                                                                    1 of 5
purporting to act on her behalf.

          2.    The term “defendant” refers to defendant AB Hollywood, LLC, including its

agents, representatives, contractors, or any other person or entity purporting to act on defendant’s

behalf.

          3.    The term Complaint refers to plaintiff’s Complaint filed on or about September

26, 2023 with the United States District Court for the District of Oregon (Portland Division).

          4.    The term Amended Complaint refers to plaintiff’s Amended Complaint filed on

or about December 12, 2023 with the United States District Court for the District of Oregon

(Portland Division).

          5.    The term Second Amended Complaint refers to plaintiff’s Second Amended

Complaint filed on or about February 2, 2024 with the United States District Court for the

District of Oregon (Portland Division).

          6.    The term “property” shall mean at 4434 NE Sandy Blvd., Portland, OR 97213.

          7.    The term “person” is defined as any natural person or any business, legal or

governmental entity or association.

          8.    The term “concerning” means relating to, referring to, describing, evidencing, or

constituting.

          9.    The terms “and” and “or” shall be construed either disjunctively or conjunctively

as necessary to bring within the scope of the discovery request all responses that might otherwise

be construed to be outside its scope.

          10.   If in responding to these requests, you perceive any ambiguity in construing a

specific request, a definition, or an instruction relevant to the request, please indicate what matter

is deemed “ambiguous” and the construction you have selected or used in responding to the

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                                                                                               EXHIBIT C
                                                                                                  2 of 5
request.

                                 REQUEST FOR ADMISSIONS

        REQUEST FOR ADMISSION NO. 1: Admit that the photograph you produced in

discovery, attached as Exhibit A, shows the visible upright signage (displaying the International

Symbol of Accessibility) designating a parking space as accessible at the property.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 2: Admit that the photograph you produced in

discovery, attached as Exhibit A, was taken by you or on your behalf when you attempted to

patronize the property on or about November 2022 as alleged in ¶11 of the Complaint.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 3: Admit that the visible upright signage visible in the

photo, attached as Exhibit A, shows the only designated parking sign located on the property.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 4: Admit that you had possession of the photograph,

attached as Exhibit A, when you filed the original Complaint, First Amended Complaint, and

Second Amended Complaint in this matter.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 5: Admit that the allegation contained in ¶ 31(i) of the

Amended Complaint and ¶31(h) of the Second Amended Complaint, that “the visible upright signage

(displaying the International Symbol of Accessibility) designating any parking space as accessible is

faded and unintelligible,” referred to the sign visible in the photo, attached as Exhibit A.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 6: Admit that the visible upright signage (displaying

the International Symbol of Accessibility) visible in the photograph that you produced in discovery,

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                                                                                                EXHIBIT C
                                                                                                   3 of 5
attached as Exhibit A, is not faded and not unintelligible.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 7: Admit that the allegation contained in ¶ 31(i) of the

Amended Complaint and ¶31(h) of the Second Amended Complaint, that “the visible upright signage

(displaying the International Symbol of Accessibility) designating any parking space as accessible is

faded and unintelligible,” contains factual contentions which are contradicted by the photograph

evidence which was in your possession at the time you filed the Amended Complaint and the Second

Amended Complaint.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 8: Admit that, when you filed the Amended Complaint

and the Second Amended Complaint, you had knowledge and information establishing that the

factual contentions contained in ¶ 31(i) of the Amended Complaint and ¶31(h) of the Second

Amended Complaint, that “the visible upright signage (displaying the International Symbol of

Accessibility) designating any parking space as accessible is faded and unintelligible,” did not have

evidentiary support and were contradicted by evidence.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 9: Admit that a photograph you produced in discovery,

attached as Exhibit B, shows plaintiff Conner Slevin at the property on or about November 2022 as

alleged in ¶11 of the Second Amended Complaint.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 10: Admit that the ADA violations which you

identified in the Second Amended Complaint related to the conditions of the parking lot and curb

ramp serving the tenant spaces.

        RESPONSE:

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                                                                                                EXHIBIT C
                                                                                                   4 of 5
        REQUEST FOR ADMISSION NO. 11: Admit that a photograph you produced in

discovery, attached as Exhibit B, shows plaintiff Conner Slevin able to access one of the entrances

at the property, having already surmounted the alleged barriers of the parking lot and curb ramp

described in ¶31 of the Amended Complaint and Second Amended Complaint.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 12: Admit that Conner Slevin was able to access and

assess all areas of the property which were open to the public when he visited the property on or

about November 2022, as alleged in ¶11 of the Second Amended Complaint.

        RESPONSE:

        REQUEST FOR ADMISSION NO. 13: Admit that the allegation contained in ¶28 of the

Complaint and ¶32 of both the Amended Complaint and the Second Amended Complaint, that

“Plaintiff was unable to access and assess” the property due to the architectural barriers encountered

contains a factual contention which you know to lacked evidentiary support and which was

contradicted by evidence.

        RESPONSE:

        DATED this 29th day of May, 2024

                                              LEWIS BRISBOIS BISGAARD & SMITH LLP



                                              By:     s/ Iain M. R. Armstrong
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                                                                                                EXHIBIT C
                                                                                                   5 of 5
